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                             E PTING & R ANNIK
                                     ATTORNEYS AT LAW
                        ANDREW K. EPTING, JR. ∙ AKE@EPTING-LAW.COM
                           JAAN G. RANNIK ∙ JGR@EPTING-LAW.COM
                         CLINTON T. MAGILL ∙ CTM@EPTING-LAW.COM




July 12, 2023

VIA EMAIL

Thomas P. Gressette, Jr., Esquire                      James W. Clement, Esquire
WALKER, GRESSETTE & LINTON, LLC                        WALKER, GRESSETTE & LINTON, LLC
66 Hasell Street                                       66 Hasell Street
Charleston, SC 29401                                   Charleston, SC 29401
Gressette@wglfirm.com                                  Clement@wglfirm.com


       RE:      Nautilus Insurance Company v. Murdaugh, et al.
                No. 2:22-cv-1307-RMG

Dear Tom:

Before drafting a document concerning the Phelps Dunbar subpoena production, I want
to sketch the essential substance.

      This firm was provided the Phelps Dunbar Nautilus files to assert claims of
       privilege and/or confidentiality.
      Phelps Dunbar provided its own privilege log, attached, setting forth seven
       documents, five of which are their bills. We did not receive these documents but
       will request them. The other two documents were produced as part of our
       privilege log. Phelps Dunbar redacted two documents because they concern
       matters unrelated to Murdaugh and its role as Nautilus’ coverage counsel. See
       Bates labels PHELPS 1017-1018 and PHELPS 945. Unless you advise otherwise
       I consider this a non-issue.
      Nautilus produced 178 documents without asserting privilege and logged 83
       documents that relate to Nautilus’ claims of privilege or confidentiality. It is this
       group of documents that Nautilus seeks agreement beyond the court approved
       confidentiality. I propose the following terms:


                       4 6 A S TA TE S TRE E T ∙ C HAR L E STON ∙ S C ∙ 29 4 01
                        PHONE (843) 377-1871 ∙ FAX (843) 377-1310
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Thomas P. Gressette, Jr., Esquire
WALKER, GRESSETTE & LINTON, LLC

James W. Clement, Esquire
WALKER, GRESSETTE & LINTON, LLC
July 12, 2023
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    All documents not produced via Dropbox on Friday, July 14 will be provided for
     your in camera review.
    You should identify the document(s) you want to put in issue.
    As to these documents we will mark them as confidential or as privileged.
    As to these documents their use will be limited to this litigation and will not be
     shared with other parties unless they agree to the terms of the confidentiality
     agreement I will draft.
    In this fashion there should be no fight over what we can agree to and we reserve
     the right to claim privilege over a limited set of documents.
    We acknowledge that your argument for relevance has merit as does Nautilus’
     desire to protect its internal discussions, discussions with counsel, and decision-
     making concerning the “gap” issues.

I am mindful that document production is more difficult in the context of the “Murdaugh
Sagas” and it is why we offered these terms regarding the bank’s committee meeting
minutes. What we would likely want/need would be a fraction of the whole. If what I
outline is acceptable, I am prepared to give you access to the withheld set pending a final
agreement with any dispute resolved by the judge. On a separate note, Jaan’s paternity
leave has me at a disadvantage on our production. I will follow-up today with an
accounting of our miscellaneous production.

If this is a satisfactory way to proceed an email will suffice and I will turn a proposed
agreement around in 24 hours. My client has agreed to this approach.

With kind regards,

EPTING & RANNIK

DREW

Andrew K. Epting, Jr., Esquire
AKEjr/rhm
Enclosure
